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Michael Kaufman
From:                       Lawrence, Victor (CIV) [Victor.Lawrence@usdoj.gov]
Sent:                       Tuesday, September 11, 2012 8:51 PM
To:                         Ahilan Arulanantham
Cc:                         STEINBERGM@sullcrom.com; LichaaS@sullcrom.com; Marisol Orihuela; Go, Samuel (CIV);
                            Ihsanullah, Neelam (CIV)
Subject:                    Re: Franco -- Sampling Compromise & Other Discovery Issues


Ahilan,

I write regarding several discovery issues in advance of our discovery hearing with Judge Bristow tomorrow.

First, I'm disappointed that Plaintiffs receded on what I had thought was a tentative agreement on some issues related
to the random sample. When we left on Friday, I thought we had general agreement that we would have two random
samples of approximately 100 files each -- one with the file sample you preferred, and one with the sample Defendants
preferred. Then, I received your "compromise" proposal which was entirely different than what we discussed.

In any event, you asked for a response. Defendants do not really view your proposed sample as "random." It's essentially
a revised discovery request seeking 200 files from various sets. Defendants continue to view the request for 200 files as
unnecessarily large and burdensome.

However, if Plaintiffs can substantially reduce the number of files and simultaneously not object to a production
schedule that will allow Defendants appropriate flexibility to make a rolling production over a reasonable period of time,
we might be able to come to an agreement on the pools of files Plaintiffs seek.

If so, Defendants would need agreement on several issues:

1. Defendants would make no waiver to the argument that Plaintiffs' overall batch of files is not representative of the
entire batch as a whole. (We could potentially agree to waive arguments that files chosen randomly from various pools
are not representative of other files in the pool.)

2. In addition to the files Plaintiffs seek, Defendants would randomly choose a batch of files from the Notice Group and
use those files to make any necessary arguments about the effectiveness of Defendants' procedures. Of course, we
retain the right to make any and all arguments of effectiveness/adequacy of procedures based on Plaintiffs' batch as
well. Similarly, Plaintiffs can make similar arguments about Defendants' batch, but we would have a reciprocal
agreement concerning Plaintiffs' waiver of arguments about Defendants' random sample and whether it is
representative of the pool from the Notice group.

3. Assuming agreement on the number of files, Defendants would agree to make a rolling production as follows: one-
third after 60 days, the second third 60 days after that, the final third 60 days after that. Obviously, depending on the
final number of files, these timeframes may need to be adjusted.

4. We are exploring the redaction issue and the possibility of a super-enhanced protective order to allow for disclosure
of asylum info -- a significant concern of my clients. This is very premature, but I may know more about what we can
offer on this point (if anything) by tomorrow. I just wanted to mention it because, depending on what my clients and the
Parties are able to do with respect to a revised PO, such events MAY also allow for slightly shorter timelines that are
expressed in # 3 above.

Rather than rejecting this out of hand, I'd appreciate the opportunity to confer with you about it more before (or during)
tomorrow's hearing.

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On other matters:

1. At our meeting on Friday, you and Mike expressed significant concern about not getting an interrogatory response to
one particular interrogatory requesting information on facilities in CA, AZ, and WA. I think this is quite overblown since
we have related similar info to you before in prior communications. Nevertheless, to resolve this issue, I offer the
following information:

A. The Northwest Detention Center is the only facility in Washington that holds ICE detainees. It is an IHSC staffed facility
and has an Average Daily (ICE) Population (ADP) in FY 2012 of 1,320 ICE detainees.

B. Arizona has the following facilities that holds ICE detainees. I note in parenthesis whether IHSC staff are on site at
each facility: Eloy Federal Contract Facility (IHSC, FY12 ADP = 1,493); Pinal County Jail (IHSC, FY12 = 445); CCA, Florence
Correctional Center (non-IHSC, FY12 = 205); Florence Service Processing Center (IHSC, FY12 = 386); CCA Central Arizona
Detention Center (non-IHSC, FY12 ADP = 73).

C. California has the following facilities that holds ICE detainees: Mira Loma Detention Center (non-IHSC, FY12 ADP =
747); San Diego Contract Detention Facility (IHSC, FY12 ADP = 664); Adelanto Correctional Facility (non-IHSC, FY12 ADP =
550); Theo Lacy Facility (non-IHSC, FY12 ADP = 448); James Musick Facility (non-IHSC, FY12 ADP = 285); Yuba County Jail
(non-IHSC, FY12 ADP = 225); Santa Ana City Jail (non-IHSC, FY12 ADP = 190); Sacramento County Jail (non-IHSC, FY12
ADP = 127); California City Correctional Center (non-IHSC, FY12 ADP = 121); Contra Costa County Jail West (non-IHSC,
FY12 ADP = 119); El Centro SPC (IHSC, FY12 ADP = 392).

2. You also expressed concern generally about our statements to you that you would have our interrogatory responses
by November 16. I reviewed this issue with my clients today, and here is what is in the works:

A. ICE plans to create a "Process Description" that will explain the entire process for ICE detainees from the point they
come into custody to the time of their immigration proceedings and how issues related to mental health are captured
and communicated along the way. I anticipate that this document will be very helpful and also be responsive to all
outstanding interrogatories.

B. ICE aspires to complete this in two stages. The first stage will be the Macro description of the process. It will still take
some time to draft and get clearance from five chief counsel's office and ICE Headquarters, but ICE aspires to complete
this so it is ready for production by September 30. Two to three weeks after that, ICE aspires to complete the second
stage of this which will give the Micro statistics on the particular information sought in interrogatory responses, in the
form of an Excel chart (showing, inter alia, info on IJ competency determinations after consideration of competency
issues raised by ICE or noted by the IJ).

Anyway, that is all I have for now. I may have more for you prior to the hearing.

Regards,

Victor




From: Ahilan Arulanantham [mailto:aarulanantham@ACLU-SC.ORG]
Sent: Monday, September 10, 2012 09:26 PM
To: Lawrence, Victor (CIV)
Cc: Steinberg, Michael H. <STEINBERGM@sullcrom.com>; 'Lichaa, Shawn J.' <LichaaS@sullcrom.com>; Marisol Orihuela
<morihuela@ACLU-SC.ORG>

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Subject: Franco -- Sampling Compromise


Dear Victor,

I write to summarize Plaintiffs’ compromise proposal on sampling discussed last Friday. If Defendants cannot

agree to this proposal, we will seek from the Court an order that Defendants produce the number of files and

distribution as detailed in the Joint Stipulation (Dkt. 406), and as slightly modified in the Supplemental Brief

filed today.



As a compromise, Plaintiffs propose that Defendants produce a total of approximately 200 files, broken up as

follows:

First, as we discussed, Defendants must agree to produce information (A files, medical files, ROC’s, database

information) for all Subclass One members identified by the Government pursuant to the Court’s notice order,

as well as information for a small number of individuals identified on a case by case basis when Plaintiffs

request it (as in, for example, the email requests that Talia Inlender sent recently). Defendants must agree that

they will not resist such disclosure on the basis of any alleged privacy interest, so long as Plaintiffs agree to be

bound by the protective order with respect to the information Defendants produce. Relatedly, if Defendants rely

on their own files (outside of the random sampling detailed below), they must not argue that those files are

representative (as opposed to just using them as illustrative examples, as Plaintiffs intend to do with their case-

by-case requests).



Second, Plaintiffs propose that Defendants produce 150 files from three different groups, with the breakdown as

follows: (1) 50 files from the group identified during discovery conducted for purposes of numerosity

(“Numerosity Group”); (2) 50 files of individuals who, since May 23, 2011, have had one of the following

occur: been hospitalized for a mental health reason, received a mental health evaluation (in any form, including

mental health reviews), received a hearing to determine competency pursuant to Matter of M-A-M, or had their

cases continued or adjourned under Code 53 (“Post May 23, 2011 Sampling Group”); and (3) 50 files from the

group identified through the Court ordered notice procedure (“Notice Group”). Defendants would have to

produce a list of detainees in each group (lists already exist for the first and third, but Defendants would have to

produce one for the second), after which the parties would use a random number generator to select 50 files



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from each group. If a file was in multiple groups, it would only be counted once, so that the total number from

this portion of the production is no less than 150.



Defendants would agree to produce the selected files on a rolling basis, with all production (A-files, medical

files, ROCs, database information) completed within 60 days. Finally, because the number of files sought in

this compromise is smaller than the number of files that Plaintiffs are seeking through litigation, Defendants

must agree to waive any argument that the selected files are not representative of the pools from which they are

drawn.



Please let us know by COB Tuesday, September 11th whether Defendants agree to this proposal.



Take care,

ahilan




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